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 1   KILPATRICK TOWNSEND & STOCKTON LLP
     GREGORY S. GILCHRIST (State Bar No. 111536)
 2   RYAN T. BRICKER (State Bar No. 269100)
     SOPHY MANES (State Bar No. 287583)
 3   ALEXANDRA N. MARTINEZ (State Bar No. 317382)
     Two Embarcadero Center, Suite 1900
 4   San Francisco, California 94111
     Telephone: (415) 576-0200
 5   Facsimile: (415) 576-0300
     Email:      gilchrist@kilpatricktownsend.com
 6               rbricker@kilpatricktownsend.com
                 smanes@kilpatricktownsend.com
 7               amartinez@kilpatricktownsend.com
 8   Attorneys for Plaintiffs
     PATAGONIA, INC. and
 9   PATAGONIA PROVISIONS, INC.
10
11                           UNITED STATES DISTRICT COURT
12                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                         WESTERN DIVISION – LOS ANGELES
14   PATAGONIA, INC. and                          Case No. 2:19-cv-02702
     PATAGONIA PROVISIONS, INC.,
15                                                COMPLAINT FOR TRADEMARK
                       Plaintiffs,                INFRINGEMENT, UNFAIR
16                                                COMPETITION, DILUTION,
            v.                                    FRAUD, AND JUDICIAL
17                                                DECLARATION THAT
     ANHEUSER-BUSCH, LLC dba                      TRADEMARK REGISTRATION
18   PATAGONIA BREWING CO.,                       IS VOID (INJUNCTIVE RELIEF
                                                  SOUGHT)
19                     Defendant.
                                                  JURY TRIAL DEMAND
20
21
22                                         INTRODUCTION
23          1.     In 2012, Anheuser-Busch LLC (“AB”) submitted false evidence to
24   the Trademark Office to unlawfully obtain a trademark for PATAGONIA on beer.
25   After letting its fraudulently obtained trademark registration lie unused for six years,
26   AB recently adopted the fictitious business name “Patagonia Brewing Co.” and
27   launched an intensive marketing campaign to “introduce” its PATAGONIA beer
28   to American consumers.


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 1          2.     AB’s new beer bottle employs a logo including PATAGONIA beneath
 2   a mountain silhouette, shown below (“AB’s PATAGONIA logo”).
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15   AB recently launched its new beer at ski resorts in Colorado, where its sales people
16   dressed in black down jackets with AB’s PATAGONIA logo on the chest and gave
17   out beanies, scarves, and t-shirts all bearing the same PATAGONIA logo. At the
18   ski resorts, AB set up what looks like a pop-up store, including a booth made of
19   what AB called out to be reclaimed wood, featuring a large PATAGONIA logo
20   sign and a placard describing “Patagonia’s ‘tree positive’ mission.” Customers
21   were told AB will plant one tree for every case of beer purchased.
22          3.     In launching its PATAGONIA beer, AB deliberately has attempted
23   to take advantage of the tremendous goodwill that Patagonia, Inc. and Patagonia
24   Provisions, Inc. (together, “Patagonia” or “Plaintiffs”) have cultivated in their brand,
25   and the hard-earned reputation that Patagonia, Inc. has built over the last forty years
26   as a company dedicated to environmental conservation. AB has gone as far as
27   creating a logo that is strikingly similar to Patagonia’s famous mountain silhouette
28   logo that has appeared continuously for decades on millions of products. AB has


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 1   tried to connect its beer with environmental conservation by claiming to plant a
 2   tree for each case of beer sold, an initiative that Patagonia would welcome but for
 3   the fact that AB is clearly attempting to copy Patagonia’s famous brand identity
 4   to confuse consumers. AB has launched its copycat brand at ski resorts where
 5   Patagonia, Inc.’s ski apparel is widely used and universally recognized in further
 6   attempts to draft off Patagonia’s goodwill. And AB has dressed its sales people
 7   in down jackets and given out beanies, t-shirts, and scarves bearing AB’s
 8   PATAGONIA logo—all products that Patagonia sells, including in its stores in
 9   the very towns where AB has launched its beer. In short, AB has done everything
10   possible to make it appear as though this PATAGONIA beer is sold by Patagonia.
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19           4.    AB’s effort to look and feel like Patagonia is all the more confusing
20   because Patagonia started a food business in 2012 called Patagonia Provisions, Inc.
21   (“Provisions”), which was formed to challenge a broken food industry increasingly
22   dependent on pesticides, chemicals, and emitting massive amounts of greenhouse
23   gases. Provisions has been selling its own beer since 2016 using a perennial grain
24   called Kernza® instead of traditional barley. Kernza has long roots that store carbon
25   in the ground and using it in beer has served as an effective vehicle for Patagonia
26   to introduce customers to carbon sequestration as a means of removing greenhouse
27   gases from our atmosphere.
28   / / /

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14          5.     Patagonia is filing this lawsuit to stop AB from maintaining its
15   unlawful trademark registration, from selling PATAGONIA beer, and to prevent
16   AB from going to such great lengths to pass itself off as Patagonia, all of which
17   infringes, dilutes, and usurps the goodwill in Patagonia’s famous PATAGONIA
18   trademarks, as well as the reputation it has built over the last four decades.
19                        PARTIES, JURISDICTION, AND VENUE
20          6.     Patagonia, Inc. is a California corporation headquartered at 259 West
21   Santa Clara Street, Ventura, California 93001. For more than forty years, Patagonia,
22   Inc. has been designing, developing, marketing, and retailing outdoor apparel,
23   sportswear, and related products. For many years, Patagonia, Inc. and the
24   PATAGONIA® brand have been famous in the United States and around the world
25   for innovative apparel designs, quality products, and environmental and corporate
26   responsibility.
27          7.     Patagonia, Inc. was founded in the late 1960s to design and sell
28   climbing clothes and other active sportswear. The company adopted the brand


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 1   “PATAGONIA” to differentiate another business that designed and manufactured
 2   climbing gear and tools. PATAGONIA was chosen as the trademark to call to mind
 3   romantic visions of glaciers tumbling into fjords, jagged windswept peaks, gauchos,
 4   and condors. Since at least 1973, the PATAGONIA brand has appeared on a multi-
 5   colored label inspired by a silhouette of the jagged peaks of the Mt. Fitz Roy skyline
 6   (the “P-6 logo”).
 7          8.     In the more than forty years since Patagonia, Inc.’s business started,
 8   the PATAGONIA brand and its P-6 logo have become among the most identifiable
 9   brands in the world. Patagonia, Inc.’s products now include a wide range of apparel
10   products and equipment, including technical products designed for climbing, skiing
11   and snowboarding, surfing, fly fishing, and trail running, as well as sportswear,
12   which are sold around the world.
13          9.     Over the years, Patagonia, Inc. has been recognized and honored for
14   its business initiatives, including receiving the Sustainable Business Counsel’s first
15   “Lifetime Achievement Award.” In 1996, with an increased awareness of the
16   dangers of pesticide use and synthetic fertilizers used in conventional cotton
17   growing, Patagonia, Inc. began the exclusive use of organically grown cotton and
18   has continued that use for more than twenty years. It was a founding member of
19   the Fair Labor Association®, which is an independent multi-stakeholder verification
20   and training organization that audits apparel factories. Additionally, since 1985
21   Patagonia, Inc. has pledged 1% of sales to environmental groups to preserve and
22   restore our natural environment, donating more than $100 million to date. In 2002,
23   Patagonia, Inc.’s founder, Yvon Chouinard, along with others, created a non-profit
24   called 1% For the Planet® to encourage other businesses to do the same. Today,
25   more than 1200 member companies have donated more than $150 million to more
26   than 3,300 nonprofits through 1% For the Planet. In 2012, Patagonia, Inc. became
27   one of California’s first registered Benefit Corporations, ensuring Patagonia, Inc.
28   could codify into its corporate charter consideration of its workers, community,

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 1   and the environment. In 2016, Patagonia, Inc. pledged to donate all revenue from
 2   sales on Black Friday, donating $10 million to environmental grantees in response
 3   to customers’ purchases on that day. In 2018, Patagonia, Inc. pledged an additional
 4   $10 million in grants to environmental groups in response to recent tax cuts given
 5   to businesses.
 6          10.    Patagonia Provisions, Inc. is a California corporation headquartered
 7   at 259 West Santa Clara Street, Ventura, California 93001. For several years,
 8   Provisions has developed, marketed, and sold socially and environmentally
 9   responsible food items under the PATAGONIA PROVISIONS® Mark, including
10   buffalo jerky, salmon, fruit and almond bars, and soup mixes. Patagonia and
11   Provisions are related companies.
12          11.    Anheuser-Busch, LLC (“AB”) is a limited liability company that,
13   in its corporate filings, alleges its principal place of business is One Busch Place,
14   St. Louis, Missouri 63118. AB is a global producer of beer and other products and
15   services under a multitude of brands. Patagonia is informed and believes that AB
16   maintains a sophisticated department of trademark attorneys and an array of outside
17   counsel to procure, maintain, and enforce these brands and trademarks. Although
18   the primary products sold by AB are beers, AB and, on information and belief, its
19   parent corporation, Anheuser-Busch Inbev S.A., use and maintain trademarks for
20   additional products categories, including for apparel under the STELLA ARTOIS,
21   HOEGARDEN, and LEFFE marks, among others, and for educational and
22   charitable services under the OCTOBER, LA SAVOIR, and THE SIMPLE
23   COMPLEXITIES OF BEER brands. Among its brands is AB’s PATAGONIA beer,
24   newly launched in the United States. Though AB has not made any effort to obtain
25   a PATAGONIA registration for apparel products or educational or charitable
26   services—presumably because it knows such applications would be futile in light
27   of Patagonia’s broad rights—AB is also producing and distributing such products
28   and services.

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 1           12.    Patagonia Brewing Company is, on information and belief, a
 2   fictitious business name registered by AB in July 2018, shortly before its launch
 3   of PATAGONIA beer in the United States. Patagonia is informed and believes
 4   that AB registered the name so that, in addition to using PATAGONIA as a mark,
 5   it could identify itself to consumers as an entity named Patagonia (see, for example,
 6   the copyright ownership claim for AB’s packaging below), enhancing the likelihood
 7   that consumers will associate AB’s beer with Plaintiffs, and not with a multinational
 8   conglomerate.
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12           13.    Patagonia’s trademark claims arise under the Trademark Act of 1946
13   (the Lanham Act), as amended by the Trademark Dilution Revision Act of 2006.
14   This Court has jurisdiction over such claims pursuant to 28 U.S.C. §§ 1338(a) and
15   1338(b) (trademark and unfair competition), 28 U.S.C. § 1331 (federal question),
16   and 15 U.S.C. § 1121 (Lanham Act). This Court has jurisdiction over the state law
17   claims under 28 U.S.C. § 1367 (supplemental jurisdiction) and, because the claims
18   involve more than $75,000 exclusive of interest and costs, 28 U.S.C. § 1332
19   (diversity).
20           14.    This Court has personal jurisdiction over AB because AB’s contacts
21   with this forum are so pervasive and substantial that it is fair for AB to respond to
22   a lawsuit here. In addition, AB is offering and promoting its relevant products and
23   services to residents of this district through its website, where to buy locater, and
24   through distributors and retailers who are selling or promoting the products and
25   services to consumers in this district. Patagonia is informed and believes that
26   AB knows Patagonia is located in this judicial district, and that Patagonia will
27   suffer the harm from damage to its reputation and trademarks in this district.
28   / / /

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 1          15.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because AB
 2   transacts business in this district and a substantial part of the events giving rise to
 3   the claims asserted arose in this district.
 4           AB Unlawfully Obtained the PATAGONIA Registration for Beer
 5          16.    AB purports to own U.S. Trademark Registration No. 4,226,102. That
 6   registration issued from an intent to use application originally filed by Warsteiner
 7   Importers Agency, Inc. (“Warsteiner”), a German brewer and, on information and
 8   belief, competitor of AB. Patagonia is informed and believes that the registration
 9   was procured unlawfully and is void from its inception.
10          17.    Plaintiffs’ investigation, to date, of AB’s unlawful acquisition of
11   Warsteiner’s intent to use application reveals as follows:
12          18.    On June 8, 2006, Warsteiner filed an “intent to use” application for
13   PATAGONIA in International Class 32 for beer, declaring a bona fide intention
14   to use the mark in interstate commerce.
15          19.    On July 12, 2006, Warsteiner petitioned to cancel a then-existing
16   United States registration for PATAGONIA for beer belonging to Cerveceria Y
17   Malteria Quilmes S.A.I.C.A.G. (“Quilmes”). The U.S. Patent and Trademark Office
18   (“Trademark Office”) cancelled the Quilmes registration on November 17, 2006.
19          20.    On January 1, 2007, AB acquired a Luxembourg-based holding
20   company that controlled 93% of Quilmes International, which owned the Argentine
21   Quilmes entity that previously owned the United States trademark registration for
22   PATAGONIA that Warsteiner had cancelled one month earlier.
23          21.    On July 21, 2009, after opposition proceedings from a third party, the
24   Notice of Allowance for Warsteiner’s intent to use application was issued, inviting
25   Warsteiner to secure its registration by showing commercial use of the mark.
26          22.    On January 18, 2010, Warsteiner requested an extension of time to file
27   its statement of use. For the next two years there was no activity on Warsteiner’s
28   intent to use application, except that it filed similar extensions every six months to

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  1   keep the application alive. On January 5, 2012, Warsteiner filed its fifth and final
  2   permissible extension to show use, which was set to expire July 21, 2012.
  3          23.    On May 14, 2012, Andrea K. Cannon, a trademark attorney employed
  4   by AB, substituted in as the correspondent and attorney of record, representing
  5   Warsteiner in the proceeding involving its intent to use application.
  6          24.    At the same time that AB’s lawyer took over Warsteiner’s trademark
  7   application, AB submitted labels to the Alcohol and Tobacco Tax and Trade Bureau
  8   (TTB) for COLA approval, a prerequisite to selling beer in the United States. On
  9   July 17, 2012, four days before Warsteiner’s intent to use application was set to
 10   fall abandoned for failure to use the mark, AB’s attorney filed a statement of use
 11   on behalf of Warsteiner, showing a single bottle as a specimen that used the same
 12   “Patagonia” label that AB had recently submitted to the TTB for approval. The
 13   label used for both AB’s COLA Application and Warsteiner’s statement of use
 14   are shown below.
 15
               AB’s COLA Filing Label                 Warsteiner’s Evidence of Use
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  1           25.   In the statement of use submitted to the Trademark Office, Warsteiner
  2   swore—through AB’s attorney—that the bottle of AB beer showed Warsteiner’s use
  3   of PATAGONIA in interstate commerce, and that it had first sold beer in the United
  4   States under the mark one day earlier, on July 16, 2012. But Warsteiner owns no
  5   COLA for the label shown in the statement of use and, on information and belief,
  6   could not legally have sold the beer in this form. In short, there is no evidence
  7   that Warsteiner actually used the applied-for trademark and, it appears, simply
  8   acquiesced in AB’s misrepresentation to the Trademark Office that Warsteiner
  9   had used the mark in the United States. The specimen did not show AB’s beer in
 10   a commercial context, such as a store shelf. Instead, the submission consisted of
 11   two photos of a single bottle of PATAGONIA-labeled beer on a table in a white-
 12   walled room.
 13           26.   On October 16, 2012, Warsteiner’s purported trademark registration
 14   for PATAGONIA was issued by the Trademark Office.
 15           27.   On February 8, 2013, AB’s lawyer recorded that Warsteiner
 16   had assigned the registration to AB. A “corrected” assignment was filed on
 17   February 22, 2013. The document verifying the assignment states it “assigns …
 18   all right, title, in and to the PATAGONIA Application and Mark, together with the
 19   goodwill of the business symbolized by the PATAGONIA mark and any resulting
 20   registration,” revealing, on information and belief, that the assignment was drafted
 21   before any registration had issued and purporting to assign the application:
 22   / / /
 23   / / /
 24   / / /
 25   / / /
 26   / / /
 27   / / /
 28   / / /

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 20          28.    Intent to use trademark applications cannot be assigned unless the
 21   assignor also transfers the existing business unit which owns the application and
 22   goodwill associated with the mark (which only can be created through use). There
 23   is no evidence that Warsteiner became part of AB as part of this transaction; indeed,
 24   Warsteiner continues to exist as an independent entity to this day. Knowing that
 25   Warsteiner could not lawfully assign the intent to use trademark application to AB,
 26   and knowing that Warsteiner could not show the use needed to obtain the trademark
 27   registration, AB and Warsteiner, on information and belief, colluded to deceive
 28   the Trademark Office—seeking to show that Warsteiner was responsible for

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  1   commercial use of the PATAGONIA beer shown in the statement of use. While the
  2   ostensible reason for this collusion is not reflected in the public record, Patagonia is
  3   informed and believes that the only purpose for AB’s attorney to have appeared
  4   before the Trademark Office on behalf of its competitor to complete an application
  5   and file a statement of use—using AB-produced beer and AB-owned labels and
  6   packaging—was to create the illusion that Warsteiner was entitled to perfect its
  7   registration while, under a transaction that remained undisclosed to the Trademark
  8   Office, Warsteiner’s non-use of the PATAGONIA trademark was disguised. Absent
  9   this subterfuge, the Trademark Office would have deemed Warsteiner’s application
 10   abandoned.
 11                               AB’s False Section 8 & 15 Filing
 12          29.    After obtaining the PATAGONIA registration, Patagonia is informed
 13   and believes that AB made no commercial use of the mark in the United States until
 14   its recent campaign. Indeed, the use complained of in this complaint is AB’s first
 15   bona fide use of the PATAGONIA mark in the United States, more than six years
 16   after the registration issued.
 17          30.    Despite this, on October 5, 2018, AB made the following sworn
 18   statement to the Trademark Office, to renew and preserve its registration: “The
 19   mark has been in continuous use in commerce for five consecutive years after the
 20   date of registration … and is still in use in commerce on or in connection with all
 21   goods/services.” The filing itself warned AB that any willfully false statement
 22   would jeopardize the validity of the trademark registration.
 23          31.    AB’s current press releases and promotional statements—together with
 24   its disclosures in its public filings—indicate that AB made no bona fide commercial
 25   use of its unlawful PATAGONIA trademark in the five years following issuance
 26   of the registration, and contradict AB’s sworn statement to the Trademark Office.
 27   AB’s annual reports up to and including the 2017 report identify PATAGONIA as
 28   a “local craft brand” in the “Latin America South” category. The brand is only

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  1   mentioned once in the company’s 2016 report, together with dozens of other beers
  2   under a lengthy list of “Local Brands” in the report’s trademark notice. Similarly,
  3   in 2015, the brand is described as only available in the Latin America South market,
  4   and even within that market, distinguished from “global brands” such as Corona and
  5   Stella Artois, and “international brands” Hoegarden and Leffe.
  6          32.    The February 28, 2019, press release announcing AB’s 2018 financial
  7   results stated that AB is “identifying opportunities to introduce existing brands into
  8   new markets. Examples of this practice include Argentina’s Patagonia in certain
  9   regions of the U.S. …” (emphasis added).
 10          33.    AB’s recent promotional statements follow suit. A Beer Business
 11   Daily trade journal article in which Harry Lewis, AB’s Vice President of New
 12   Brands, is heavily quoted, explains that AB “quietly began testing” the
 13   PATAGONIA beer “stateside” in 2018, and more recently launched a “pilot
 14   program” in Colorado.
 15          34.    The net effect of Warsteiner’s intent to use application, the mis-
 16   reported assignment to AB, and AB’s covert maintenance of the registration while
 17   it waited for the additional protections provided by the five-year renewal filing
 18   follow: AB effectively reserved the PATAGONIA trademark for more than a
 19   decade before the mark appears genuinely to have been used in conjunction
 20   with AB’s recent launch of its PATAGONIA-branded beer. During this interval,
 21   Provisions’ own application to register the mark PATAGONIA PROVISIONS for
 22   wine was refused, partly on the strength of Warsteiner’s trademark, then owned
 23   by AB. The registration continues to harm Plaintiffs, including because AB has
 24   cautioned Patagonia against using Plaintiffs’ PATAGONIA trademark in connection
 25   with beer on the strength of AB’s supposed rights in its registration.
 26                               The PATAGONIA Trademarks
 27          35.    Plaintiffs own numerous registrations for and including the
 28   PATAGONIA trademark and P-6 logo, both together and alone, and the

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  1   PATAGONIA PROVISIONS trademark, for a wide-ranging assortment of products
  2   and services. Among these are the following U.S. trademark registrations:
  3
                                       Reg. No. /                                   Date of
  4     Trademark                      Reg. Date        Goods                       First Use
  5                                    1189402 /        Men’s and Women’s           08/1974
                                       Feb. 9, 1982     Clothing – Namely,
  6                                                     Sweaters, Rugby Shirts,
        PATAGONIA                                       Walking Shorts,
  7                                                     Trousers, Jackets,
                                                        Mittens, Hoods, and
  8                                                     Rainwear.
  9                                    1294523 /        Men’s, Women’s, and       08/1974-
                                       Sept. 11, 1984   Children’s Clothing –     1981
 10                                                     Namely, Jackets, Pants,
                                                        Vests, Gloves, Pullovers,
 11                                                     Cardigans, Socks,
                                                        Sweaters, Underwear,
 12                                                     Shirts, Shorts, Skirts,
                                                        and Belts.
 13
                                       1547469 /        Men’s, Women’s, and         08/1974
 14                                    July 11, 1989    Children’s Clothing –
                                                        Namely, Jackets, Pants,
 15                                                     Shirts, Sweaters, Vests,
                                                        Skirts, Underwear Tops
 16                                                     and Bottoms, Socks,
                                                        Gloves, Mittens, Hats,
 17                                                     Face Masks, Balaclava,
                                                        Gaiters, and Belts.
 18
                                       1775623 /        Luggage, Back Packs,        08/1988
 19                                    June 8, 1993     and All-Purpose Sports
                                                        Bags.
 20
 21
 22                                    1811334 /        Luggage, Back Packs,        08/1990
                                       Dec. 14, 1993    Fanny Packs, and All-
 23     PATAGONIA                                       Purpose Sport Bags,
                                                        Footwear, Ski Bags,
 24                                                     and Ski Gloves.
 25                                    2260188 /        Computerized on-line        10/1995
                                       July 13, 1999    ordering activities in
 26                                                     the field of clothing and
        PATAGONIA                                       accessories; providing
 27                                                     information in the field
                                                        of technical clothing and
 28                                                     accessories for use in

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  1                                    Reg. No. /                                  Date of
  2     Trademark                      Reg. Date       Goods                       First Use

  3                                                    recreational, sporting,
                                                       and leisure activities;
  4                                                    providing information in
                                                       the field of existing and
  5                                                    evolving environmental
                                                       issues.
  6                                    2392685 /       On-line retail store        10/1995
  7                                    Oct. 10, 2000   and mail order services
                                                       featuring technical
  8                                                    clothing, footwear, and
        PATAGONIA.COM                                  accessories; computer
  9                                                    services in the nature
                                                       of on-line information
 10                                                    related to the
                                                       environment and
 11                                                    clothing.

 12                                    2662619 /       Retail store services       06/1986
                                       Dec. 17, 2002   featuring clothing,
 13     PATAGONIA                                      footwear, luggage, and a
                                                       wide variety of sporting
 14                                                    goods and accessories.

 15     PATAGONIA                      4894914 /       Salmon, not live.           08/2013
        PROVISIONS                     Feb. 2, 2012
 16     (owned by Provisions)

 17     PATAGONIA                      4168329 /       Salmon jerky.               04/2012
        PROVISIONS                     July 3, 2012
 18     (owned by Provisions)

 19     PATAGONIA                      4,786,172 /     Mugs all for use in         09/2014
        PROVISIONS                     Aug. 4, 2015    camping and outdoor
 20     (owned by Provisions)                          events; mugs used to
                                                       keep food and drink
 21                                                    cold, drink bottles sold
                                                       empty; camping gear
 22                                                    dinnerware and cook-
                                                       ware, namely, pots.
 23     PATAGONIA                      4,795,759 /     Tsampa (Tibetan             09/2014
 24     PROVISIONS                     Aug. 18, 2015   porridge) and mixes
        (owned by Provisions)                          for making tsampa
 25                                                    comprising processed
                                                       roasted grains.
 26     PATAGONIA                      4,809,079 /     Snack bars containing       09/2014
 27     PROVISIONS                     Sept. 8, 2015   primarily dried fruit and
        (owned by Provisions)                          nuts; mixes for making
 28                                                    soup comprising roasted


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  1                                    Reg. No. /                                   Date of
  2     Trademark                      Reg. Date        Goods                       First Use

  3                                                     grains, flour, olive oil,
                                                        and spices; soup mixes.
  4     PATAGONIA                      4822430/         Bison jerky, buffalo        08/2015
  5     PROVISIONS                     Sept. 29, 2015   jerky.
        (owned by Provisions)
  6     PATAGONIA                      4917049 /        Online retail store         11/2013
  7     PROVISIONS                     Mar. 15, 2016    services featuring food,
        (owned by Provisions)                           namely, bison jerky,
  8                                                     buffalo jerky, salmon
                                                        jerky, snack bars
  9                                                     containing primarily
                                                        dried fruit and nuts,
 10                                                     mixes for making soup
                                                        comprising roasted
 11                                                     grains, flour, olive oil
                                                        and spices; providing
 12                                                     current events news
                                                        related to topics of
 13                                                     general interest; provid-
                                                        ing on-line publications
 14                                                     in the nature of
                                                        periodical columns
 15                                                     and blogs in the field of
                                                        food, recipes, lifestyle,
 16                                                     the environment, and
                                                        topics of general
 17                                                     interest; providing
                                                        information, news and
 18                                                     commentary related to
                                                        recipes; providing
 19                                                     information, news, and
                                                        commentary regarding
 20                                                     food, namely,
                                                        information, news, and
 21                                                     commentary related to
                                                        cooking food (among
 22                                                     others).

 23     PATAGONIA WORKS 4791042 /                       Capital investment          05/2013
                        Aug. 11, 2015                   services for research and
 24                                                     development projects;
                                                        providing grants and
 25                                                     seed money to
                                                        environmentally and
 26                                                     socially conscious
                                                        companies and projects.
 27
 28   / / /

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  1           36.   These registrations are in full force and effect. Many have become
  2   incontestable under 15 U.S.C. § 1065. Plaintiffs also have common law rights
  3   in their trademarks covering other apparel and food products, and charitable and
  4   educational services in a broad array of environmental issues, including agricultural
  5   issues related to the food and grain supply chain.
  6           37.   For example, the Provisions website explains the process and benefits
  7   related to brewing beer with a perennial grain called Kernza®. Kernza is a grain
  8   with long roots and perennial growth that allow it to thrive without tilling or pesti-
  9   cides; it uses less water than conventional wheat, prevents erosion, and removes
 10   more carbon from the atmosphere than annual grains. Provisions, since 2013,
 11   has, in collaboration with others, produced beer and educated consumers about the
 12   importance to the environment of the agricultural choices made in producing beer.
 13   For example, Provisions reports regarding its LONG ROOT ALE products:
 14                 We believe the future of farming—and our planet—lies
 15                 in something called organic regenerative agriculture.
 16                 Organic regenerative agriculture restores soil biodiversity,
 17                 sequesters carbon, and efficiently grows crops without
 18                 chemical fertilizers or pesticides. Researchers at the Rodale
 19                 Institute have found that a switch to organic regenerative
 20                 techniques could actually store enough carbon in the soil
 21                 to reverse global climate change.
 22           38.   Collectively, when referring to marks owned by Patagonia or
 23   Provisions, these marks, including Plaintiffs’ registered trademarks and their
 24   common law marks, are referred to as the “PATAGONIA” brand or trademarks.
 25   The PATAGONIA trademarks are distinctive, arbitrary, and fanciful, entitled to
 26   the broadest scope of protection, and certain of the PATAGONIA trademarks are
 27   registered in ninety countries.
 28   / / /

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  1          39.    For many years prior to the events giving rise to this Complaint
  2   and continuing to the present, Plaintiffs annually have spent enormous amounts
  3   of time, money, and effort advertising and promoting the products and services on
  4   which their PATAGONIA trademarks are used. PATAGONIA brand products are
  5   advertised in print and on the Internet. In addition to advertising by Plaintiffs, the
  6   PATAGONIA trademarks are also advertised and promoted and presented at point
  7   of sale by numerous retailers. Consumers, accordingly, are exposed to the
  8   PATAGONIA trademarks in a variety of shopping and post-sale contexts.
  9          40.    Plaintiffs have sold their PATAGONIA brand products all over
 10   the world, including throughout the United States and California. Through their
 11   promotion and investment in the PATAGONIA brand—combined with extensive
 12   sales, publicity, awards, and leadership in sustainable sourcing practices—Plaintiffs
 13   have acquired enormous goodwill in their PATAGONIA trademarks.
 14          41.    The PATAGONIA mark is famous within the meaning of the
 15   Trademark Dilution Revision Act, and has been since long before AB began
 16   selling PATAGONIA beer in the United States. The mark enjoys strong consumer
 17   recognition, is used as a household term to refer to Patagonia or its products, and
 18   is recognized around the world and throughout the United States by consumers as
 19   signifying high quality products and services from a responsible company.
 20           AB’s Infringement and Dilution of Patagonia’s Trademark Rights
 21          42.    Consistent with the comments from AB’s Vice President of New
 22   Brands, quoted above, AB recently has launched its PATAGONIA branded beer
 23   in various U.S. markets. AB has surrounded its promotion of the beer products
 24   with PATAGONIA branded apparel and a plant-a-tree initiative in an attempt
 25   to draw upon the same associations that consumers have with Patagonia’s
 26   PATAGONIA brand.
 27          43.    As described above, AB made token use, if any, of the PATAGONIA
 28   beer prior to the U.S. launch of the brand in late 2018. AB has not accumulated any

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  1   trademark rights by way of this token use, and will not, unless consumers come to
  2   secondarily associate PATAGONIA beer exclusively with AB.
  3          44.    When it launched PATAGONIA beer, AB modified the neck label
  4   to create a new “housemark” for its products consisting of a mountain silhouette
  5   above the PATAGONIA name (defined above as “AB’s PATAGONIA logo”). This
  6   mimics Patagonia’s P-6 logo and reinforces consumers’ associations between AB’s
  7   PATAGONIA beer and Patagonia. The new label is being used on billboards, signs,
  8   apparel, packaging, and advertisements. On the billboard below, this new label is
  9   used in an advertisement “introducing” the product and pairing this introduction
 10   with the slogan “you buy a case, we plant a tree”:
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 21          45.    Southern Eagle Distributing now has AB’s PATAGONIA Cerveza on
 22   its website, introducing the U.S. launch of this beer with no indication it has been
 23   used continuously for the last six years: “Originally from the Patagonia region in
 24   South America, they’ve decided to start their next adventure in the U.S.”
 25          46.    In a January 2019 interview, AB’s Chief U.S. Sales Officer, Brendan
 26   Whitworth, stated “AB InBev owns a brand in Argentina called Patagonia which
 27   research indicated could have potential in the Colorado market,” again indicating
 28   AB had not previously sold the beer in the U.S.

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  1          47.    In the following signage, AB announces “Patagonia’s ‘tree positive’
  2   mission,” referring to its new beer brand and to an entity, all at once usurping
  3   Patagonia’s famous mark and its corporate identity, and again using AB’s
  4   PATAGONIA logo as a “housemark.”
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 20          48.    The same “housemark” was used on a variety of apparel products
 21   that AB representatives were wearing and distributing to consumers in a recent
 22   promotion. Side by side comparisons of the parties’ respective marks in use follow.
 23
 24
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 13           49.   There is no question that AB is well aware of Patagonia’s prior rights,
 14   or that it is using this array of promotional tools to try and capture Patagonia’s hard-
 15   earned goodwill for itself. AB has surrounded its launch of PATAGONIA beer with
 16   the goods and services, including apparel and sustainability, that are most responsi-
 17   ble for making Patagonia’s brand famous. If there were any question remaining that
 18   AB intends to draft on Patagonia’s reputation and consumer associations with its
 19   brand, an AB representative recently contacted Provisions seeking an “interview”
 20   about the Kernza grain use in Provisions’ Long Root Ale.
 21           50.   Consumers’ longstanding association of the PATAGONIA brand
 22   with Patagonia will likely be substantially diminished and eroded if AB continues
 23   to use Patagonia’s brand to market AB’s products. Further, consumers will doubt-
 24   less acquire negative associations with the PATAGONIA brand of beer from
 25   discovering the truth behind AB’s pretense that PATAGONIA beer is made in
 26   California at a small craft brewery, rather than by one of the largest beer producers
 27   in the world. Even if consumers come away from AB’s products with a positive
 28   / / /


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  1   experience, Patagonia’s famous brand will be eroded and diminished by AB’s use
  2   of the PATAGONIA trademark.
  3                                         Harm to Patagonia
  4           51.   AB’s activities have caused consumer confusion in the marketplace.
  5   Consumers have, for example, attributed AB’s PATAGONIA beer to Plaintiffs,
  6   causing a range of damages including depriving Plaintiffs of their right to control
  7   the reputation associated with their brands and marks. On information and belief,
  8   AB intended this outcome when it tailored its launch of the PATAGONIA beer to
  9   target Patagonia’s consumers.
 10           52.   AB’s actions have caused and will cause irreparable harm to Plaintiffs
 11   for which money damages and other remedies are inadequate. Unless AB is
 12   restrained by this Court, it will continue to cause irreparable damage and injury
 13   to Plaintiffs by, among other things:
 14                 a.     Depriving Plaintiffs of their statutory rights to obtain
 15           registrations for, use, and control use of their trademarks;
 16                 b.     Creating a likelihood of confusion, mistake, and deception
 17           among consumers and the trade as to the source of the infringing
 18           products and services, including beer, apparel, sustainability education,
 19           and charitable environmental programs;
 20                 c.     Creating a likelihood of confusion among potential
 21           partners with whom Plaintiffs have or may produce beer products,
 22           about a Patagonia or Patagonia Provisions partnership with AB, such
 23           that Plaintiffs’ ability to secure the services of or collaborate with high
 24           quality craft brewers is diminished or eliminated;
 25                 d.     Causing the public falsely to associate Plaintiffs with AB
 26           and/or its products, or vice versa;
 27   / / /
 28   / / /

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  1                 e.     Causing incalculable and irreparable damage to Plaintiffs’
  2           goodwill and diluting the capacity of the famous PATAGONIA
  3           trademark to differentiate its products from those of its competitors;
  4                 f.     Causing incalculable and irreparable damage to
  5           Patagonia’s famous PATAGONIA trademark by creating negative
  6           associations with AB’s PATAGONIA beer products, apparel products,
  7           and sustainability and philanthropic programs;
  8                 g.     Causing Plaintiffs to lose sales of their genuine
  9           PATAGONIA brand products and services; and
 10                 h.     Causing AB to capture profits, premiums and goodwill
 11           that are only available due to its exploitation of the PATAGONIA
 12           brand, all to the detriment of deceived consumers and Patagonia.
 13   Accordingly, in addition to damages and recovery of AB’s profits, Plaintiffs are
 14   entitled to injunctive relief against AB and all persons acting in concert with it.
 15                                         FIRST CLAIM
 16                      FEDERAL TRADEMARK INFRINGEMENT
 17                                    (15 U.S.C. §§ 1114-1117)
 18           53.   Plaintiffs reallege and incorporate by reference each of the allegations
 19   contained in paragraphs 1 through 52 of this Complaint as if fully set forth here.
 20           54.   AB has used—in connection with the sale, offering for sale, distribu-
 21   tion, or advertising of its apparel products—words and symbols that infringe upon
 22   Plaintiffs’ registered trademarks, including the PATAGONIA trademark and the
 23   P-6 logo.
 24           55.   AB’s use of the registered PATAGONIA trademarks on apparel creates
 25   a likelihood of consumer confusion that AB is authorized to produce and distribute
 26   PATAGONIA products, or is associated or affiliated with Patagonia, when it is not.
 27   / / /
 28   / / /

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  1           56.   These acts of trademark infringement have been committed deliberately
  2   and with the intent to cause confusion, mistake, or deception, and are in violation of
  3   15 U.S.C. § 1114.
  4           57.   As a direct and proximate result of AB’s conduct, Plaintiffs are entitled
  5   to recover up to treble the amount of AB’s unlawful profits and Plaintiffs’ damages,
  6   and an award of attorneys’ fees under 15 U.S.C. §§ 1117(a).
  7           58.   Plaintiffs and the public will suffer irreparable harm if AB’s infringe-
  8   ments continue. Therefore, Plaintiffs are entitled to injunctive relief pursuant to
  9   15 U.S.C. § 1116(a) that requires AB to stop use of Plaintiffs’ registered trademarks
 10   on apparel and to stop using any other mark or design that creates likely confusion
 11   that AB is authorized to produce or distribute PATAGONIA brand products, or that
 12   there is any affiliation between Plaintiffs and AB.
 13                                          SECOND CLAIM
 14                           FEDERAL UNFAIR COMPETITION
 15                    (False Designation of Origin and False Description)
 16                                         (15 U.S.C. § 1125(a))
 17           59.   Plaintiffs reallege and incorporate by reference each of the allegations
 18   contained in paragraphs 1 through 58 of this Complaint.
 19           60.   AB’s conduct as alleged in this Complaint constitutes the use of
 20   symbols or devices tending falsely to describe the infringing products and services,
 21   including on beer, apparel, educational, and charitable and philanthropic goods and
 22   services within the meaning of 15 U.S.C. § 1125(a). AB’s conduct is likely to cause
 23   confusion, mistake, or deception by or in the public as to the affiliation, connection,
 24   association, origin, sponsorship, or approval of the infringing products and services
 25   to the detriment of Plaintiffs and the PATAGONIA trademarks, and in violation of
 26   15 U.S.C. § 1125(a).
 27   / / /
 28   / / /

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  1          61.    As a direct and proximate result of AB’s conduct, Plaintiffs are entitled
  2   to recover up to treble the amount of AB’s unlawful profits and Plaintiffs’ damages,
  3   and an award of attorneys’ fees under 15 U.S.C. § 1117(a).
  4          62.    Plaintiffs and the public will suffer irreparable harm if AB’s infringe-
  5   ments continue. Therefore, Plaintiffs are entitled to an injunction pursuant to
  6   15 U.S.C. § 1116(a) that requires AB to stop use of PATAGONIA on any good or
  7   service and to stop using any other mark or design that creates likely confusion that
  8   AB is authorized or sponsored by Plaintiffs or to use the PATAGONIA brand.
  9                                         THIRD CLAIM
 10                       FEDERAL DILUTION OF FAMOUS MARK
 11              (Trademark Dilution Revision Act of 2006, 15 U.S.C. § 1125(c))
 12          63.    Patagonia realleges and incorporates by reference each of the
 13   allegations contained in paragraphs 1 through 62 of this Complaint.
 14          64.    Patagonia’s PATAGONIA word mark is distinctive and famous within
 15   the meaning of the Trademark Dilution Revision Act of 2006, 15 U.S.C. § 1125(c),
 16   in that it is a household brand in the United States, and was famous prior to AB’s
 17   adoption of the trademarks.
 18          65.    AB’s conduct is likely to cause dilution of Patagonia’s PATAGONIA
 19   word mark by diminishing its distinctiveness and by disparaging Patagonia and the
 20   PATAGONIA word mark in violation of the Trademark Dilution Revision Act of
 21   2006, 15 U.S.C. § 1125(c).
 22          66.    AB’s conduct was deliberate, systematic, and willful, including in
 23   taking improper steps to acquire Warsteiner’s intent to use trademark application for
 24   PATAGONIA and then to coopt Patagonia’s identity when it launched the brand.
 25          67.    As a direct and proximate result of AB’s willful conduct, Patagonia is
 26   entitled to recover up to treble the amount of AB’s unlawful profits and Patagonia’s
 27   damages, and an award of attorneys’ fees under 15 U.S.C. §§ 1116(a), 1117(a), and
 28   1125(c).

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  1          68.    Patagonia and the public will suffer irreparable harm if AB’s dilution
  2   of the famous PATAGONIA word mark continues and Patagonia is entitled to an
  3   injunction pursuant to 15 U.S.C. §§ 1116(a) and 1125(c) that requires AB to stop
  4   use of any PATAGONIA marks and any other mark or design that diminishes or
  5   disparages the PATAGONIA word mark or diminishes the association consumers
  6   have between Patagonia and the PATAGONIA word mark.
  7                                         FOURTH CLAIM
  8         TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION
  9                       UNDER CALIFORNIA STATUTORY LAW
 10                (Cal. Bus. & Prof. Code §§ 14320, 14335, and 17200 et seq.)
 11          69.    Plaintiffs reallege and incorporate by reference each of the allegations
 12   contained in paragraphs 1 through 68 of this Complaint.
 13          70.    Plaintiffs are the owners of numerous registrations as well as common
 14   law rights for the PATAGONIA trademarks.
 15          71.    To enhance the commercial value of its offerings, AB has used the
 16   PATAGONIA trademarks on its beer, apparel, educational, and charitable and
 17   philanthropic goods and services. AB’s conduct is likely to cause confusion,
 18   mistake, or deception by or in the public as to the affiliation, connection, associa-
 19   tion, origin, sponsorship, or approval of the infringing products and services to
 20   the detriment of Plaintiffs and the PATAGONIA trademarks, and in violation of
 21   California Business & Professions Code §§14320 et seq. and §§ 14335 et seq.
 22          72.    AB’s conduct also constitutes an “unlawful, unfair or fraudulent
 23   business act[s] or practice[s] and unfair, deceptive, untrue or misleading
 24   advertising” within the meaning of California Business & Professions Code
 25   §§ 17200 et seq.
 26          73.    Plaintiffs are entitled to monetary and injunctive relief. The public and
 27   Plaintiffs will suffer irreparable harm if AB’s infringements continue. Therefore,
 28   Plaintiffs are entitled to an injunction that requires AB to stop use of any

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  1   PATAGONIA trademarks and to stop using any other mark or design that is likely
  2   to cause confusion about the origin of products or services bearing the PATAGONIA
  3   trademarks or about whether Plaintiffs have sponsored or authorized AB in its use
  4   of the PATAGONIA mark.
  5          74.    Because AB’s actions have been committed willfully, maliciously, and
  6   intentionally, Patagonia is entitled to reasonable attorneys’ fees, and compensatory
  7   and punitive damages pursuant to California Business & Professions Code
  8   §§ 14320, 14330, and 14340.
  9                                         FIFTH CLAIM
 10                CANCELLATION OF TRADEMARK REGISTRATION
 11                                    (15 U.S.C. §§ 1060, 1119)
 12          75.    Plaintiffs reallege and incorporate by reference each of the allegations
 13   contained in paragraphs 1 through 74 of this Complaint.
 14          76.    Section 10(a) of the Lanham Act, 15 U.S.C. § 1060(a), provides in
 15   relevant part as follows:
 16                 [N]o application to register a mark under section 1051(b)
 17                 of this title shall be assignable prior to the filing of an
 18                 amendment under section 1051(c) of this title to bring the
 19                 application into conformity with section 1051(a) of this title
 20                 or the filing of the verified statement of use under section
 21                 1051(d) of this title, except for an assignment to a successor
 22                 to the business of the applicant, or portion thereof, to which
 23                 the mark pertains ….
 24          77.    This means that Warsteiner could not assign the intent to use applica-
 25   tion to AB without selling Warsteiner Imports Agency, or the relevant part of it,
 26   to AB.
 27          78.    Plaintiffs are informed and believe and the transactional documents
 28   recorded in the Trademark Office confirm that Warsteiner made no such sale of any

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  1   part of its business to AB and instead, solely in a pro-forma manner purported
  2   to assign to AB its non-existent goodwill in the PATAGONIA mark for beer.
  3   Section 10(a) of the act makes it clear that an assignment of so-called goodwill
  4   in an intent to use application is insufficient to support its assignment.
  5          79.    Because Warsteiner never made any use of the PATAGONIA trade-
  6   mark, the registration was void ab initio. Accordingly, the Court should order
  7   Registration No. 4,226,102 to be cancelled and, pursuant to regulations, should
  8   address its certified order to the USPTO, Office of the Solicitor, Mail Stop 8,
  9   Director of the United States Patent and Trademark Office, P.O. Box 1450,
 10   Alexandria, Virginia 22313-1450.
 11                                          SIXTH CLAIM
 12                CANCELLATION OF TRADEMARK REGISTRATION
 13                                         (15 U.S.C. § 1119)
 14          80.    Plaintiffs reallege and incorporate by reference each of the allegations
 15   contained in paragraphs 1 through 79 of this Complaint.
 16          81.    AB, when it assumed control over Warsteiner’s intent to use applica-
 17   tion, knew that Warsteiner never had used the PATAGONIA mark for beer, but
 18   nonetheless swore to the Trademark Office that Warsteiner had, in fact, made
 19   sufficient use in U.S. commerce to support a statement of use under 15 U.S.C.
 20   § 1051(d). Had AB not made these false filings on Warsteiner’s behalf, the
 21   Trademark Office would have deemed Warsteiner’s application abandoned
 22   and would not have issued the registration.
 23          82.    Plaintiffs are informed and believe that AB already had engaged in
 24   a transaction with Warsteiner in which Warsteiner’s interest in the PATAGONIA
 25   trademark application had been sold or transferred to AB as of May 2012, when its
 26   attorney substituted for the correspondent Warsteiner attorney. AB made further
 27   false statements to the Trademark Office when it continued to prosecute the applica-
 28   tion on Warsteiner’s ostensible behalf and stated later to the Trademark Office that

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  1   the assignment to AB did not occur until after the registration was issued when, in
  2   fact, the improper assignment of the intent to use application already had occurred.
  3          83.    AB knew that its statements to the Trademark Office were false, but
  4   made them with the intention to deceive the Trademark Office so that it would,
  5   unaware of the improper assignment and non-use by Warsteiner, issue the registra-
  6   tion for PATAGONIA on beer. The Trademark Office acted in reliance on these
  7   fraudulent statements when it issued Registration No. 4,226,102 to Warsteiner.
  8          84.    Because AB, on Warsteiner’s behalf, procured the registration by fraud,
  9   and/or never made any use of the PATAGONIA trademark, the registration must be
 10   cancelled. Accordingly, the Court should order Registration No. 4,226,102 to be
 11   cancelled and, pursuant to regulations, should address its certified order to the
 12   USPTO, Office of the Solicitor, Mail Stop 8, Director of the United States Patent
 13   and Trademark Office, P.O. Box 1450, Alexandria, Virginia 22313-1450.
 14                                         SEVENTH CLAIM
 15                RECTIFICATION OF TRADEMARK REGISTRATION
 16                                         (15 U.S.C. § 1119)
 17          85.    Plaintiffs reallege and incorporate by reference each of the allegations
 18   contained in paragraphs 1 through 84 of this Complaint.
 19          86.    Plaintiffs are informed and believe that AB has not made genuine,
 20   continuous use of the PATAGONIA trademark for beer in interstate commerce
 21   over the past five years as recited in AB’s statement of incontestability filed with
 22   the Trademark Office on October 5, 2018.
 23          87.    Plaintiffs base these allegations on multiple published reports from AB
 24   to the effect that the PATAGONIA product line is being introduced or launched as
 25   of 2018, and by AB distributors who have stated that they expect to be receiving
 26   access to PATAGONIA beer soon.
 27          88.    Because AB falsely declared that its registration was entitled to incon-
 28   testable status, the Court should order rectification of Registration No. 4,226,102 by

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  1   striking the affidavit of incontestability from the register. The Court, pursuant to
  2   regulations, should address its certified order to the USPTO, Office of the Solicitor,
  3   Mail Stop 8, Director of the United States Patent and Trademark Office, P.O.
  4   Box 1450, Alexandria, Virginia 22313-1450.
  5                                 PRAYER FOR JUDGMENT
  6          WHEREFORE, Plaintiffs pray that this Court grant it the following relief:
  7          1.     Adjudge that the PATAGONIA trademarks have been infringed by
  8   AB in violation of Plaintiffs’ rights under 15 U.S.C. § 1114;
  9          2.     Adjudge that the PATAGONIA trademarks have been infringed by
 10   AB in violation of California statutory law;
 11          3.     Adjudge that Plaintiffs’ common law rights in the PATAGONIA
 12   trademarks have been infringed;
 13          4.     Adjudge that AB has falsely described the source of its products and
 14   services in violation of Plaintiffs’ rights under 15 U.S.C. § 1125(a);
 15          5.     Adjudge that AB has competed unfairly with Plaintiffs in violation
 16   of California statutory law;
 17          6.     Adjudge that AB’s activities are likely to dilute Patagonia’s famous
 18   PATAGONIA trademark in violation of Patagonia’s rights under 15 U.S.C.
 19   § 1125(c);
 20          7.     Adjudge that AB and its agents, employees, attorneys, successors,
 21   assigns, affiliates, and joint venturers, and any person(s) in active concert or
 22   participation with it, and/or any person(s) acting for, with, by, through, or under it,
 23   be enjoined and restrained at first during the pendency of this action and thereafter
 24   permanently from:
 25                 a.     Manufacturing, producing, sourcing, importing, selling, offering
 26   for sale, distributing, advertising, or promoting any goods or services that copy or
 27   display any words or symbols that so resemble Plaintiffs’ PATAGONIA trademarks
 28   as to be likely to cause confusion, mistake, or deception, on or in connection with

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  1   any product or service that is not authorized by or for Plaintiffs, including, without
  2   limitation, any product or service that (i) bears the PATAGONIA trademarks,
  3   (ii) bears AB’s mountain silhouette logo, or (iii) otherwise approximates Plaintiffs’
  4   trademarks;
  5                 b.     Using any word, term, name, symbol, device, or combination
  6   that (i) causes or is likely to cause confusion, mistake, or deception as to the affilia-
  7   tion or association of AB or its products or services with Plaintiffs, or as to the
  8   origin of AB’s products or services, (ii) contains any false designation of origin,
  9   false or misleading description or representation of fact, (iii) contains any false or
 10   misleading advertising, or (iv) causes likely dilution of the distinctiveness of the
 11   PATAGONIA trademark or degrades it;
 12                 c.     Further infringing the rights of Plaintiffs in and to their
 13   PATAGONIA trademark, or otherwise damaging Plaintiffs’ goodwill or business
 14   reputation;
 15                 d.     Further diluting the famous PATAGONIA trademark;
 16                 e.     Otherwise competing unfairly with Plaintiffs in any manner; or
 17                 f.     Continuing to perform in any manner whatsoever any of the
 18   other acts complained of in this Complaint;
 19           8.    Order that Registration No. 4,226,102 shall be cancelled and address
 20   its certified order to the USPTO, Office of the Solicitor, Mail Stop 8, Director of the
 21   United States Patent and Trademark Office, P.O. Box 1450, Alexandria, Virginia
 22   22313-1450;
 23           9.    Order that Registration No. 4,226,102 shall be rectified to strike AB’s
 24   statement of incontestability under section 15 of the Lanham Act, and address its
 25   certified order to the USPTO, Office of the Solicitor, Mail Stop 8, Director of the
 26   United States Patent and Trademark Office, P.O. Box 1450, Alexandria, Virginia
 27   22313-1450;
 28   / / /

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  1          10.    Adjudge that AB, within thirty (30) days after service of the Court’s
  2   judgment, be required to file with this Court and serve upon Patagonia’s counsel a
  3   written report under oath setting forth in detail the manner in which it has complied
  4   with the judgment;
  5          11.    Adjudge that Plaintiffs recover from AB its damages and lost profits,
  6   and AB’s profits, in an amount to be proven at trial;
  7          12.    Adjudge that AB be required to account for any profits that are
  8   attributable to its illegal acts, and that Plaintiffs be awarded (1) AB’s profits and
  9   (2) all damages sustained by Plaintiffs, under 15 U.S.C. § 1117, plus prejudgment
 10   interest;
 11          13.    Adjudge that the amounts awarded to Plaintiffs pursuant to 15 U.S.C.
 12   § 1117 shall be trebled;
 13          14.    Adjudge that AB be obligated to pay punitive damages to Plaintiffs;
 14          15.    Adjudge that this is an exceptional case and that Plaintiffs be awarded
 15   its costs and disbursements incurred in connection with this action, including
 16   Plaintiffs’ reasonable attorneys’ fees and investigative expenses; and
 17          16.    Adjudge that all such other relief be awarded to Plaintiffs as this Court
 18   deems just and proper.
 19
 20   DATED: April 9, 2019                  Respectfully submitted,
 21                                         KILPATRICK TOWNSEND & STOCKTON LLP
 22
 23                                         By: /s/ Gregory S. Gilchrist
                                                GREGORY S. GILCHRIST
 24                                             RYAN T. BRICKER
                                                SOPHY MANES
 25                                             ALEXANDRA N. MARTINEZ
 26                                         Attorneys for Plaintiffs
                                            PATAGONIA, INC. and
 27                                         PATAGONIA PROVISIONS, INC.
 28

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  1                                 DEMAND FOR JURY TRIAL
  2           Plaintiffs Patagonia, Inc. and Patagonia Provisions, Inc. demand that this
  3   action be tried to a jury.
  4
  5   DATED: April 9, 2019                  Respectfully submitted,
  6                                         KILPATRICK TOWNSEND & STOCKTON LLP
  7
  8                                         By: /s/ Gregory S. Gilchrist
                                                GREGORY S. GILCHRIST
  9                                             RYAN T. BRICKER
                                                SOPHY MANES
 10                                             ALEXANDRA N. MARTINEZ
 11                                         Attorneys for Plaintiffs
                                            PATAGONIA, INC. and
 12                                         PATAGONIA PROVISIONS, INC.
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